Case 1:18-cv-02517-CMA-NRN Document 104 Filed 06/03/20 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 18-cv-02517-CMA-NRN

   RICHARD REID,

          Plaintiff,

   v.

   ANDRE MATEVOUSIAN, Warden, in his official capacity,
   HUGH HURWITZ, Acting Director of the Bureau of Prisons, in his official capacity,

          Defendants.


                  JOINT REQUEST TO RETAIN ADMINISTRATIVE CLOSURE


          Pursuant to the Court’s Order dated February 10, 2020, ECF No. 101, the parties

   respectfully request that this action remain administratively closed, pending completion of

   settlement. The parties are in the final stages of completing the settlement, including

   obtaining final approvals of the settlement documents. That process has taken longer

   than anticipated due to circumstances related to the COVID-19 pandemic.

          The parties will file a joint status report notifying the Court when settlement is

   completed.
Case 1:18-cv-02517-CMA-NRN Document 104 Filed 06/03/20 USDC Colorado Page 2 of 2




          Respectfully submitted on June 3, 2020.

    KILLMER LANE & NEWMAN, LLP                        JASON R. DUNN
                                                      UNITED STATES ATTORNEY

    /s/ Reid R. Allison                               /s/ Susan Prose
    David A. Lane                                     Susan Prose
    Reid R. Allison                                   Assistant United States Attorney
    1543 Champa Street, Suite 400                     1801 California St., Suite 1600
    Denver, CO 80202                                  Denver, Colorado 80202
    Tel: 303-571-1000; Fax: 303-571-1001              Tel: (303) 454-0100; Fax: (303) 454-0411
    Email: rallison@kln-law.com                       Email: susan.prose@usdoj.gov
    Attorneys for Plaintiff                           Attorneys for Defendants




                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                               CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on June 3, 2020, I electronically filed the foregoing with the
   Clerk of Court using the ECF system, which will send notification of such filing to the
   following:

          Reid Allison, Esq.
          David Lane, Esq.




                                               s/ Susan Prose
                                               Susan Prose
                                               United States Attorney’s Office




                                                  2
